Case 1:20-cr-00305-LDH Document 83 Filed 04/11/22 Page 1 of 2 PageID #: 440




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------- x

 UNITED STATES OF AMERICA,
                                                                             NOTICE OF PRETRIAL
                                                                             MOTIONS FOR
                                                                             DEFENDANT
                               -against-                                     KARL JORDAN, JR.

 KARL JORDAN, JR., et al.,                                                   20 Cr. 305 (LDH)

                                                          Defendants.

 ----------------------------------------------------------------------- x

         PLEASE TAKE NOTICE, that upon the accompanying memorandum of law,

 dated April 11, 2022 and upon all prior proceedings held herein, defendant, Karl Jordan,

 Jr., moves before the Honorable LaShann DeArcy Hall, United States District Judge, at

 the United States Courthouse for the Eastern District of New York, for the following

 relief, orders:

         1) dismissing Counts One, 21 U.S.C. § 848(e)(1)(A), and 18 U.S.C. § 2; and

 Count Two, 18 U.S.C. §§ 924(j)(1) and 2, because of the government’s undue delay in

 bringing these charges against Mr. Jordan, pursuant to Federal Rule of Criminal

 Procedure 12(b)(3)(A);

         2) severing the above-mentioned Counts One and Two from Counts Three, 21

 U.S.C. §§ 846, 841(b)(1)(A)(iii) and 841(b)(1)(C) and 18 U.S.C. § 2, Four, 18 U.S.C §

 924(c)(1)(A)(i) and 18 U.S.C. § 2, and Five through Eleven, 21 U.S.C. §§ 846 and

 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2, pursuant to Federal Rules of Criminal

 Procedure 8(a), 12(3)(A), and 14(a); and
Case 1:20-cr-00305-LDH Document 83 Filed 04/11/22 Page 2 of 2 PageID #: 441




          3) severing Mr. Jordan’s trial from that of his co-defendant Ronald Washington,

 pursuant to Federal Rules of Criminal Procedure 12(3)(A) and 14; and Bruton v. United

 States, 391 U.S. 123 (1968), and Crawford v. Washington, 541 U.S. 64, 67 (2004).

          Mr. Jordan also requests leave to join in his co-defendant’s motions to the extent

 they are beneficial to his defense and such other and further relief as the Court may deem

 just and proper.

 Dated:          Brooklyn, New York
                 April 11, 2022

                                                Respectfully submitted,

                                                ____/s/_______________________
                                                MICHAEL HUESTON, ESQ.
                                                16 Court Street, 35th Floor
                                                Brooklyn, New York 11241
                                                (718) 246-2900

                                                MARK S. DEMARCO, ESQ.
                                                Attorney at Law
                                                3867 East Tremont Avenue
                                                Bronx, New York 10465
                                                (718) 239-7070

                                                JOHN A. DIAZ, ESQ.
                                                DIAZ & MOSKOWITZ, PLLC.
                                                225 Broadway, Suite 715
                                                New York, NY 10007
                                                212-227-8208

                                                MONICA NEJATHAIM, ESQ.
                                                Fischetti & Malgieri LLP
                                                565 5th Avenue, 7th Floor
                                                New York, New York 10017
                                                (212) 593-7100

                                                Counsel for Karl Jordan, Jr.



 To:      Counsel of Record



                                               2
